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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )        CASE NO. 2:19-cr-003
                                          )
VINCENT SANDERS                           )

      GOVERNMENT'S RESPONSE TO DEFENDANT’S MOTION FOR
      AMENDMENT OF HIS CONDITIONS FOR PRETRIAL RELEASE

      The United States of America, by and through Bobby L. Christine, United

States Attorney for the Southern District of Georgia, and the undersigned Assistant

United States Attorney, files its response to Defendant’s Motion for Amendment of

His Conditions for Pretrial Release:

      1. On January 8, 2019, a federal Grand Jury returned an Indictment against

         Defendant Vincent Sanders charging him with violations of Title 18, United

         States Code, Sections 2252A. Doc. 1.

      2. On February 12, 2019, Defendant Sanders was released pretrial with

         certain conditions. Doc. 21.

      3. On February 25, 2019, Defendant Sanders filed a motion requesting this

         Honorable Court to modify his conditions of pre-trial release. Doc. 26.

         Specifically, Defendant Sanders states that the curfew imposed interferes

         with his ability to work the night shift three to five days per week as this

         Honorable Court imposed a curfew from 10:00PM to 6:00AM. Doc. 21.

      4. Under Title 18, United States Code, Section 3142(c)(1)(B), in any case that

         involves a minor victim, any release order shall contain, at a minimum, the
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        condition of electronic monitoring and each of the conditions listed in

        certain subparagraphs, to include the condition to comply with a specified

        curfew. See 18 U.S.C. 3142.

     5. Defendant Sanders’ case involves a minor and violations of federal law

        which trigger such conditions. See Doc. 1; 18 U.S.C. 3142.

     6. The Government submits that Defendant Sanders’ condition of curfew

        continue to be imposed. Nevertheless, the Government does not oppose a

        modification to allow his employment hours provided that U.S. Probation

        confirm the information contained in Exhibit A (Doc. 26) and that

        Defendant Sanders submit to U.S. Probation proof of his continued work

        schedule and actual presence at work.

     7. WHEREFORE, the Government respectfully states it has no opposition to

        Defendant’s Motion but requests that curfew continue to be a condition that

        is modified only to allow Defendant Sanders to work three to five days a

        week with proof of work schedule.

     This 25th day of February 2019.

                                               Respectfully submitted,

                                               BOBBY L. CHRISTINE
                                               UNITED STATES ATTORNEY


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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result

of electronic filing in this Court.

       Submitted this 25th day of February 2019.

                                                BOBBY L. CHRISTINE
                                                UNITED STATES ATTORNEY


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